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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO. 19-23084-CIV-WILLIAMS

   OMAR SANTOS, et al.,

          Plaintiffs,

   vs.

   HEALTHCARE REVENUE
   RECOVERY GROUP, LLC, et al.,

          Defendants.

   ___________________________/

                                                  ORDER

          THIS MATTER is before the Court on the motion for summary judgment (“Motion”) filed

   by Defendant Healthcare Revenue Recovery Group, LLC, d/b/a Account Resolution Services

   (“ARS”). (DE 59.) Plaintiffs filed a response in opposition and ARS replied. (DE 64; DE 68.) For

   the reasons set forth below, ARS’s motion is DENIED.

     I.   BACKGROUND

          Plaintiffs Omar Santos and Amanda Clements (“Plaintiffs”) bring this putative class action

   lawsuit under Sections 1681e, 1681i, and 1681s-2(b) of the Fair Credit Reporting Act (“FCRA”),

   codified at 15 U.S.C. §§ 1681e, 1681i, 1681s-2(b). (DE 1 at ¶ 2.) Plaintiffs allege that Defendants

   ARS and Experian Information Solutions, Inc. (“Experian”) (collectively, “Defendants”) “violated

   the [FCRA] . . . by willfully breaching its duty to investigate inaccurate and incomplete information

   contained in Plaintiffs’ credit reports.” (DE 64 at 2.) Specifically, Plaintiffs allege that Experian

   “engaged in the unlawful practice of altering delinquency-related dates in [Plaintiffs’] credit file[s]

   or report[s] to make [their] debts appear more recent than they actually are.” (DE 44 at 2.) Plaintiffs

   claim that, after they “disputed the inaccuracy of their credit reports through Experian,” ARS failed

   to conduct an “investigation of the disputes as required by the FCRA, and, instead, simply verified

   the account information it had already reported to Experian.” (DE 64 at 4.) Plaintiffs state that had



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   ARS “adequately investigated the disputes that Plaintiffs initiated and fully responded to Experian,

   the error on Plaintiffs’ credit reports would have been corrected.” (Id.) Plaintiffs claim that, inter

   alia, ARS breached its duty to “report [] account history accurately and to reasonably investigate

   Plaintiffs’ disputes when [Plaintiffs] informed Experian and [ARS] that their accounts had been re-

   aged.” (Id.)

           On September 14, 2020, ARS filed a motion for summary judgment along with a statement

   of material facts. (DE 59; DE 60.) ARS sought summary judgment on each of Plaintiffs’ claims,

   asserting that Plaintiffs “failed to create any genuine issue as to the reasonableness of ARS’s

   investigation, or the accuracy of the information furnished by ARS to [] credit reporting agencies

   . . ., including Experian.” (DE 59 at 5.) However, ARS filed its motion for summary judgment more

   than 200 days before the discovery deadline; the Court’s Amended Scheduling Order

   permitted the Parties to engage in discovery until April 5, 2021. (DE 54.) Further, even the Court’s

   first expert discovery deadline set in the Amended Scheduling Order—Plaintiffs’ deadline to

   disclose experts, expert witness summaries, and reports—had not passed when ARS filed the

   Motion. (Id.) The deadline for Plaintiffs to disclose experts was December 7, 2020; the

   corresponding deadline for Defendants’ experts was January 4, 2021; and the deadline for the

   Parties to exchange rebuttal expert witness summaries and reports was February 8, 2021. (Id.)

           On September 28, 2020, Plaintiffs filed their response to the Motion and ARS’s statement

   of material facts. (DE 64; DE 65.) Plaintiffs argue in part that the Court should deny the Motion

   because it “rests on disputed issues of material fact . . . and an incomplete record—discovery in

   this matter does not close until April 2021.” (DE 64 at 2.) On October 5, 2020, ARS replied to each

   of Plaintiffs’ responses. (DE 69; DE 70.) Regarding discovery, ARS states that “[a]ny additional

   discovery regarding the impact of account dates on credit reporting and how third parties view

   credit reports would not involve ARS; all the evidence as to the dates that impact the reporting of

   collection accounts is already in the record.” (DE 69 at 11.)




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           On April 7, 2021, ARS filed a motion for leave to file out of time a supplemental statement

   of material facts in support of its motion for summary judgment and a motion for leave to exceed

   the 10-page limit for statements of material facts (“Motion for Leave”). (DE 94.) In the Motion for

   Leave, ARS states that Plaintiffs deposed ten Experian witnesses and one non-party witness

   between November 2020 and February 2021—after ARS filed its motion for summary judgment

   but before the discovery deadline. (Id. at ¶¶ 5-7.) ARS stated that “a significant amount of the

   testimony in the eleven (11) depositions conducted from November 2020 to February 4, 2021

   supports ARS’s [Motion],” and therefore, it should be permitted to file an out-of-time supplemental

   statement of material facts that exceeds the 10-page limit set forth in Rule 56.1 of the Local Rules

   for the Southern District of Florida. (Id. at ¶¶ 8, 12.) After acknowledging that it filed its motion for

   summary judgment months before the discovery deadline, ARS stated that “it did not ‘know’ and

   could not have anticipated” both the volume and content of subsequent discovery after it filed the

   Motion. (DE 112 at 3-4; see also DE 102.)

           On May 12, 2021, the Court denied the Motion for Leave. (DE 112.) The Court noted that

   “ARS made the decision not submit its motion for summary judgment well in advance of the

   discovery deadline in this matter, and cannot now circumvent the prohibition on filing multiple

   motions for summary judgment with a ‘supplemental statement of material facts’ in excess of the

   10 page limitation imposed on statements of material facts . . . .” (Id. at 3.) The Court determined

   that “the fact that ARS for some reason did not anticipate the volume of discovery in this matter

   is not a sufficient basis to now allow ARS to file an additional statement of material facts.” (Id. at

   4.) ARS’s motion for summary judgment (DE 59) is now before the Court.

    II.    STANDARD OF REVIEW

           Under Rule 56(a) of the Federal Rules of Civil Procedure, “The Court shall grant summary

   judgment if the movant shows that there is no genuine dispute as to any material fact and the

   movant is entitled to judgment as a matter of law.” “Only disputes over facts that might affect the

   outcome of the suit under the governing [substantive] law will properly preclude the entry of


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   summary judgment.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Such a dispute

   is genuine only “if the evidence is such that a reasonable jury could return a verdict for the

   nonmoving party.” Id.

           In determining whether to grant summary judgment, courts consider evidence in the

   record, including “depositions, documents, electronically stored information, affidavits or

   declarations, stipultions . . ., admissions, interrogatory answers, or other materials . . . .” Fed. R.

   Civ. P. 56(c)(1)(A). Courts “must view all the evidence and all factual inferences reasonably drawn

   from the evidence in the light most favorable to the nonmoving party . . . and must resolve all

   reasonable doubts about the facts in favor of the non-movant.” Rioux v. City of Atlanta, 520 F.3d

   1269, 1274 (11th Cir. 2008) (quotation marks and citations omitted).

    III.   DISCUSSION

           Rule 56(c) of the Federal Rules of Civil Procedure “mandates the entry of summary

   judgment, after adequate time for discovery and upon motion, against a party who fails to make

   a showing sufficient to establish the existence of an element essential to that party’s case, and

   on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317,

   322 (1986). “It is well settled that ‘summary judgment should not be granted until the party

   opposing the motion has had an adequate opportunity for discovery.’” Aparicio v. Creative Glass

   Prods., Inc., No. 2:14-CV-467-FTM-38DNF, 2015 WL 164200, at *3 (M.D. Fla. Jan. 13, 2015)

   (quoting Snook v. Trust Co. of Ga. Bank, 859 F.2d 865, 870 (11th Cir. 1988)); see also City of

   Miami Gardens v. Wells Fargo & Co., 931 F.3d 1274, 1286 (“[S]ummary judgment should not be

   granted until the party opposing the motion has had an adequate opportunity for discovery . . .

   [and] the party opposing the motion for summary judgment bears the burden of calling to the

   district court’s attention any outstanding discovery.”) (citations and quotations omitted); Blumel v.

   Mylander, 919 F. Supp. 423, 428 (M.D. Fla. 1996) (“[D]istrict courts should not grant summary

   judgment until the non-movant has had an adequate opportunity for discovery.”).




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          The Court finds that Plaintiffs lacked an adequate and “meaningful opportunity to develop

   the facts through discovery,” Aparicio, 2015 WL 164200, at *3, when ARS filed its motion for

   summary judgment. First, Plaintiffs satisfied their burden to call to the Court’s attention the need

   for additional discovery. Plaintiffs asked the Court to deny the Motion “to allow for the completion

   of discovery”; specifically, they stated that ARS “makes several arguments [in the Motion] related

   to how credit is impacted by the reporting of inaccurate account dates and how third parties view

   these credit reports,” before noting that “[d]iscovery into those areas [was] ongoing” as of the date

   the Motion was filed. (DE 64 at 19.) ARS responded to this argument by stating that “[a]ny

   additional discovery [beyond the date that ARS filed the Motion] regarding the impact of account

   dates on credit reporting and how third parties view credit reports would not involve ARS; all the

   evidence as to the dates that impact the reporting of collection amounts [was] already in the record

   [when ARS filed the Motion].” (DE 69 at 11.) However, given that ARS submitted its motion for

   summary judgment more than 200 days before the discovery deadline and months before

   deadlines for the Parties to disclose expert witnesses and exchange rebuttal expert witness

   summaries and reports (see DE 54), and in light of subsequent requests, the Court finds this

   argument is both incorrect and unpersuasive.

          Moreover, given that “the course of litigation is rarely predictable[] [and] [d]ecisive facts

   may not emerge until discovery,” Christiansburg Garment Co. v. Equal Emp. Opportunity

   Comm’n, 434 U.S. 412, 422 (1978), it was unreasonable for ARS to suggest that further discovery

   would fail to elicit more evidence or support for the non-moving party’s claims so far in advance

   of the discovery deadline. Just as ARS submitted the Motion long before the discovery deadline,

   Defendant Experian also submitted its motion for summary judgment “nearly six months before

   the first expert discovery deadline . . . .” (DE 83 at 10-11.) In denying Experian’s motion, the Court

   determined that it was premature: “Given that Experian’s motion was filed before either party was

   required to produce expert reports, and well in advance of the discovery deadline, it is clear that

   Plaintiffs did not have the benefit of discovery before submitting their response to the motion.” (Id.


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   at 11.) Similarly, here, given that ARS filed the motion well before the discovery deadline and

   before the Parties’ respective deadlines for disclosing witnesses, Plaintiffs did not have the benefit

   of discovery before submitting their response to the Motion.

           While the discovery deadline has now passed, the Court must assess the Motion based

   solely on the discovery that was conducted, and the evidence that was compiled, when ARS filed

   the Motion on September 14, 2020. And upon review of the Motion and the record, the Court finds

   that summary judgment is improper here because Plaintiffs did not have an adequate, meaningful

   opportunity to conduct discovery before ARS filed the Motion. Therefore, the Court need not

   address any of ARS’s substantive arguments for summary judgment.

            Accordingly, based on a review of the Motion, record, and applicable case law, it is

   ORDERED AND ADJUDGED that Defendant ARS’s Motion for Summary Judgment (DE 59) is

   DENIED. 1

           DONE AND ORDERED in Chambers in Miami, Florida on this 29th day of September,

   2021.




   1 The Court reminds Defendant ARS that, under the Local Rules for the Southern District of Florida, “Filings
   and service of multiple motions for partial summary judgment [are] prohibited, absent prior permission of
   the Court.” S.D. Fla. Loc. Rule 7.1. The Court previously stated as such in its order on ARS’s Motion for
   Leave. (DE 112 at 2.)


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